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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                   )
                                           )         CRIMINAL ACTION NO.
        v.                                 )            2:21cr338-MHT
                                           )                 (WO)
CHRISTOPHER McWILLIAMS                     )

                                      ORDER

    This       case     is        before       the    court     on       defendant

Christopher      McWilliams’s            second        motion       to    continue

trial.        For the reasons set forth below, the court

finds    that    jury    selection             and    trial,    now       set   for

December 6, 2021, should be continued pursuant to 18

U.S.C. § 3161.

    While the granting of a continuance is left to the

sound discretion of the trial judge, see United States

v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the

court    is    limited       by    the     requirements        of    the    Speedy

Trial Act, 18 U.S.C. § 3161.                   The Act provides in part:

    "In any case in which a plea of not guilty is
    entered, the trial of a defendant charged in
    an   information   or  indictment   with   the
    commission of an offense shall commence within
    seventy days from the filing date (and making
    public) of the information or indictment, or
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      from the date the defendant has appeared
      before a judicial officer of the court in
      which such charge is pending, whichever date
      last occurs."

§ 3161(c)(1).         The Act excludes from the 70-day period

any continuance based on "findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."            § 3161(h)(7)(A).          In    granting         such   a

continuance,         the    court    may    consider,        among    other

factors, whether the failure to grant the continuance

“would be likely to ... result in a miscarriage of

justice,” § 3161(h)(7)(B)(i), or “would deny counsel

for the defendant or the attorney for the Government

the      reasonable         time      necessary        for      effective

preparation, taking into account the exercise of due

diligence,” § 3161(h)(7)(B)(iv).

      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest      of    the    public   and    McWilliams      in   a    speedy


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trial.      Defense counsel represents that his client’s

application for pretrial diversion has been approved by

the    United     States      Attorney’s         Office,     subject    to     a

further investigation by the Probation Department and

execution       of    a   pretrial         diversion       agreement.        The

parties     anticipate        these    items     will   be    completed       by

January 2022, if not before. A continuance of the trial

is therefore warranted and necessary to allow adequate

time for Probation to complete its investigation and

for a pretrial diversion agreement to be executed.                           In

addition, the government does not oppose the motion.

                                           ***

      Accordingly, it is ORDERED as follows:

      (1)   The      motion    to     continue     trial     (Doc.     21)   is

granted.

      (2) The jury selection and trial, now set for Dec

6, 2021, are reset for March 14, 2022, at 10:00 a.m.,

in Courtroom 2FMJ of the Frank M. Johnson Jr. United



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States    Courthouse       Complex,        One     Church      Street,

Montgomery, Alabama.

    The United States Magistrate Judge shall conduct

another pretrial conference prior to the March trial

term and shall reset the change-of-plea and any other

appropriate deadlines.

    DONE, this the 8th day of November, 2021.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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